Case: 1:21-cv-04595 Document #: 81-10 Filed: 03/03/23 Page 1 of 6 PageID #:828




                              EXHIBIT 10
Case: 1:21-cv-04595 Document #: 81-10 Filed: 03/03/23 Page 2 of 6 PageID #:829




                                                       VIRAMONTES 004228
Case: 1:21-cv-04595 Document #: 81-10 Filed: 03/03/23 Page 3 of 6 PageID #:830




                                                       VIRAMONTES 004229
Case: 1:21-cv-04595 Document #: 81-10 Filed: 03/03/23 Page 4 of 6 PageID #:831




                                                       VIRAMONTES 004230
Case: 1:21-cv-04595 Document #: 81-10 Filed: 03/03/23 Page 5 of 6 PageID #:832




                                                       VIRAMONTES 004231
Case: 1:21-cv-04595 Document #: 81-10 Filed: 03/03/23 Page 6 of 6 PageID #:833




                                                       VIRAMONTES 004232
